Case 2:91-cv-00589-CJC Document 677-22 Filed 07/10/20 Page 1 of 3 Page ID #:6779




                            EXHIBIT 51




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                                 1.    677-22 Filed 07/10/20 Page 2 of 3 Page ID #:6780
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                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                             REG.ON.X                              AR2581
                                                                                  n
                                       75 Hawthorne Street
                                   San Francisco, Ca. 94105-3901                ———————„
                                                                           SFUND RECORDS CTR
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                                                         March 17, 1992
       Mr. William Duchie
       The McColl Site Group
       215 East Orangethorpe Avenue
       Suite 304
       Fullerton, CA 92632
       Dear Bill:
            This letter is to confirm EPA's decision regarding the
       presentation of the viable alternatives in the McColl
       Supplemental Reevaluation of Alternatives II (SROA II), which is
       expected to be released in April 1992. As you are aware, the
       following alternatives will be fully evaluated:
       1.   Full in-situ Solidification
       2.   Soft Material Solidification
       3.   Selective Excavation (MSG proposal)
       4.   Partial Treatment (MSG proposal without excavation)
       5.   On-site incineration
       6.   Containment
       7.   Closure
       8.   No action
            I would like to acknowledge the fact that all of the in-situ
       solidification alternatives mentioned above were developed as a
       result of the MSG submitting their selective excavation proposal.
       EPA believes that the partial treatment, soft material
       solidification, and full in-situ solidification alternatives are
       adaptations of the technical concept presented in the MSG
       proposal.
            As we mentioned during our meeting on March 5th, we have
       developed a format for the SROA II which includes the MSG
       proposal without undertaking duplicative effort or incurring
       additional cost while allowing for a fair and unbiased analysis.
       While the presentation for the MSG proposal and the EPA developed
       proposal are different all of the alternatives are considered
       viable and will be treated equally.
            It is important to remember that EPA plans to evaluate each
       of the eight alternatives mentioned above using the 9 criteria
       mentioned in the NCP and we plan to discuss all of the
       alternatives equally in the Proposed Plan.

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                                            Exhibit 51
                                              6737
Case 2:91-cv-00589-CJC Document 677-22 Filed 07/10/20 Page 3 of 3 Page ID #:6781




     I would also like to confirm MSG's commitment to provide EPA
with a summary of the changes that have been incorporated into
the selective excavation alternative since the MSG original
proposal dated February 12, 1991. Your proposal continues to
evolve and we believe it would be helpful to have all the changes
summarized in one document . We look forward to receiving this
information as soon as possible.
     If you have any questions feel free to contact either myself
or Pam Wieman at (415) 744-2241, (415) 744-2242 respectively.
                                                  Sincere!


                                                  fohn B. Blevins, Chief
                                                  Southern California Section
cc:   IAC Members
      L. Goldshimdt, Sierra Club
      F. Felter, EPA
      G. Ritter, EPA
      A. Ng, ICF
      D. Bushey, FHCA
      A. Knaster, Mediation Institute




                                     Exhibit 51
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